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Clearview Ai
15 West 72nd St. - 23rd Fi

New York, NY 10023
Tax ID: XX-XXXXXXX

Invoice

September 19, 2019

Jefferson Parish Sheriff's Office
1233 Westbank Expressway
Harvey, La. 70058

TO:

For Clearview License Subscription for up to 40 Users:
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Total Due: $25,000
Please make check payable and deliver to:
Clearview Ai
Attention: Richard Schwartz
15 West 72nd St. - 23rd FI
New York, NY 10023
Tax ED: 8§2-2397610

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Questions/Information Contact:
Jessica Medeiros Garrison | 205.568.4371 | fessica@clearview.ai

PLAINTIFF'S
i EXHIBIT

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